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    10   [Additional counsel listed on signature page]

    11
    12                        UNITED STATES DISTRICT COURT

    13         CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
    14                                       Case No: 8:16-cv-00262 AG (JCGx)
         IN RE: TOLL ROADS LITIGATION
    15   ___________________________________
    16   PENNY DAVIDI BORSUK; DAVID                      PLAINTIFFS’ CORRECTED
         COULTER; EBRAHIM E. MAHDA;                      REQUEST TO CONTINUE
    17   TODD QUARLES; TODD CARPENTER;                   HEARING ON MOTION TO
    18   LORI MYERS; DAN GOLKA; and                      DECIDE KEY QUESTIONS
         JAMES WATKINS on Behalf of                      BASED ON SETTLEMENT
    19   Themselves and All Others Similarly             WITH TCA DEFENDANTS, 3M
    20   Situated,                                       COMPANY, AND BRIC-TPS,
    21               Plaintiffs,                         LLC

    22         vs.
                                                         Date:      October 28, 2019
         FOOTHILL/EASTERN                                Time:      10:00 a.m.
    23
         TRANSPORTATION CORRIDOR                         Judge:     Hon. Andrew J. Guilford
    24   AGENCY; SAN JOAQUIN HILLS                       Courtroom: 10D
    25   TRANSPORTATION CORRIDOR
         AGENCY; ORANGE COUNTY
    26   TRANSPORTATION AUTHORITY;                       Compl. Filed: October 2, 2015
    27   3M COMPANY; BRiC-TPS LLC;
         RHONDA REARDON; MICHAEL
    28
                                                  1
            PLAINTIFFS’ CORRECTED REQUEST TO CONTINUE HEARING ON MOTION TO
                                  DECIDE KEY QUESTIONS
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     1   KRAMAN; CRAIG YOUNG; SCOTT
     2   SCHOEFFEL; ROSS CHUN; DARRELL
         JOHNSON; LORI DONCHAK;
     3   COFIROUTE USA, LLC; and DOES 3-10,
     4   inclusive,
     5                  Defendants.

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     7
     8         Plaintiffs and the TCA Defendants have made progress on settlement, but
     9   Plaintiffs seek an additional sixty days to complete the settlement process. The
    10   Parties require additional time to work through issues in the long form settlement
    11   agreement and notice plan and prepare them for presentment to the Court for
    12   preliminary approval. Plaintiffs thus request a further continuance of the October
    13   28th hearing on Defendants’ “Motion To Decide Key Questions,” to advance
    14   the orderly effectuation of the settlement with Foothill/Eastern Transportation
    15   Corridor Agency, San Joaquin Hills Transportation Corridor Agency, Michael
    16   Kraman, Craig Young, Scott Schoeffel, Ross Chun, and Rhonda Reardon
    17   (collectively the “TCA Defendants”), BRiC-TPS, LLC (“BRiC”), and 3M Company
    18   (“3M”). The TCA Defendants do not take a position on the request for a
    19   continuance.
    20         The requested continuance would allow for execution of the long form
    21   settlement agreement before the Court rules on the merits of claims that apply to the
    22   settling Defendants. In contrast, proceeding with the hearing - and issuing a tentative
    23   ruling on the merits - risks altering the landscape in a way that could disrupt the
    24   settlement resolution process.
    25         The OCTA Defendants and Cofiroute would not be prejudiced by a
    26   continuance. To the contrary, continuing the hearing an additional 60 days does not
    27   impact any parties’ rights, and thereby would avoid any disruption to the orderly
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            PLAINTIFFS’ CORRECTED REQUEST TO CONTINUE HEARING ON MOTION TO
                                  DECIDE KEY QUESTIONS
Case 8:16-cv-00262-AG-JCG Document 559 Filed 10/21/19 Page 3 of 6 Page ID #:27414



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         settlement process affecting a substantial portion of the litigation, and is reasonable
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         in the context of a case pending for over four years.
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               Notably, the “Motion to Decide Key Questions” (“Motion”) was originally
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         filed on behalf of all five Defendants, three of whom are in the process of finalizing
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         settlements with Plaintiffs. The original Motion is intertwined with specific issues
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         pertaining to three of the settling parties who are no longer active defendants in this
     7
         action. To that end, it would be more efficient, as an alternative to continuing the
     8
         hearing, for this Court to require the OCTA Defendants and Cofiroute to file a
     9
         renewed Motion for Summary Judgment which would expeditiously bring this case
    10
         to trial on all disputed issues of fact related only to the OCTA and Cofiroute.
    11
                                                        Respectfully submitted,
    12
    13   Date: October 21, 2019                         SCHONBRUN SEPLOW
    14                                                  HARRIS & HOFFMAN LLP
                                                        HELEN I. ZELDES (220051)
    15
    16                                                  By: /s/ Helen I. Zeldes
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                                                        Attorneys for Plaintiffs
    22                                                  CO-LEAD CLASS COUNSEL
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            PLAINTIFFS’ CORRECTED REQUEST TO CONTINUE HEARING ON MOTION TO
                                  DECIDE KEY QUESTIONS
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     1   Date: October 21, 2019                  LINDEMANN LAW FIRM, APC
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     8                                           CO-LEAD CLASS COUNSEL
     9   Date: October 21, 2019                  CUNEO GILBERT & LADUCA LLP
    10                                           MICHAEL J. FLANNERY (196266)
    11                                           By: /s/ Michael J. Flannery
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           PLAINTIFFS’ CORRECTED REQUEST TO CONTINUE HEARING ON MOTION TO
                                 DECIDE KEY QUESTIONS
Case 8:16-cv-00262-AG-JCG Document 559 Filed 10/21/19 Page 5 of 6 Page ID #:27416



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     2
                                 SIGNATURE CERTIFICATION
     3
               Pursuant to U.S. District Court for the Central District of California Local
     4
         Rule 5-4.3.4(a)(2)(i), I hereby attest and certify that the content of this document is
     5
         acceptable all counsel listed above, and that I have obtained said counsels’
     6
         authorization to affix their electronic signature to this document.
     7
     8                                                           /s/ Helen I. Zeldes
                                                                  HELEN I. ZELDES
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            PLAINTIFFS’ CORRECTED REQUEST TO CONTINUE HEARING ON MOTION TO
                                  DECIDE KEY QUESTIONS
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     1                                 PROOF OF SERVICE
     2
                I, the undersigned, declare: I am employed in the County of Los Angeles,
     3   State of California. I am over the age of 18 and not a party to the within action; my
     4   business address is 433 N. Camden Drive, 4th Floor, Beverly Hills, CA 90210.
     5         On October 21, 2019, I served the foregoing document as follows:
     6
          PLAINTIFFS’ CORRECTED REQUEST TO CONTINUE HEARING ON
     7    MOTION TO DECIDE KEY QUESTIONS BASED ON SETTLEMENT
     8    WITH TCA DEFENDANTS, 3M COMPANY, AND BRIC-TPS, LLC
     9         [X] by electronically filing the foregoing with the Clerk of the Court using the
    10   CM/ECF system which will send notification of such electronic filing to counsel of
         record for all parties by operation of the Court’s CM/ECF System.
    11
    12          [ ] by U.S. Mail in the ordinary course of business to the non-CM/ECF
         participants indicated on the attached Manual Notice List. I am readily familiar with
    13   the Firm’s practice for the collection and processing of correspondence for mailing
    14   with the Postal Service and that the correspondence would be deposited with same
         that same day in the ordinary course of business.
    15
    16        I declare under penalty of perjury under the laws of the United States of
         America and the State of California that the above is true and correct. Executed on
    17   October 21, 2019, at Encinitas, California.
    18
                                                 /s/ Helen I. Zeldes
    19                                             HELEN I. ZELDES
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                                         PROOF OF SERVICE
